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 UNITED STATE DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------X
 ESTEBAN MARQUEZ,                                                  Case No. 20-CV-5855
                           Plaintiff,
                                                                   AFFIDAVIT OF JOGINDER
         -against-                                                 SINGH IN SUPPORT OF
                                                                   MOTION TO VACATE
 INDIAN TAJ, INC. d/b/a SANTOOR INDIAN                             DEFAULT AND DISMISS
 RESTAURANT, BALVINDER SINGH,                                      COMPLAINT
 HARMINDER SIGNH, JOGINDER SINGH,
 KIRPAL SINGH and MEHANGA SINGH,


                            Defendants.
 ----------------------------------------------------------X

 STATE OF NEW YORK                  )
                                    ) ss.:
 COUNTY OF NASSAU                   )

         I, Joginder Singh, having been duly sworn, depose and swear that the following statements

 are true:

         1.       I am personally named as a defendant in this action and, therefore, I am fully

 familiar with the statements set forth herein.

         2.       I was not aware that this lawsuit existed until just a few days ago when my bank

 account was restrained for a judgment apparently obtained against me. Prior to my bank account

 being restrained, I did not know that this lawsuit existed and, if I had, I would have never defaulted

 as I am not responsible for any of the claims made against me by Mr. Marquez.

         3.       As soon as my account was restrained, I began to look for legal counsel to determine

 what happened and how to respond. I have reviewed the affidavit of service where the plaintiff

 claims to have served me. It states that plaintiff served my alleged “co-worker” at 257-05 Union

 Turnpike in Glen Oaks, New York on May 18, 2021.



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        4.      257-05 Union Turnpike is the location of a restaurant that I formerly partially

 owned called Santoor Indian Restaurant (“Santoor”). However, I sold my entire twenty five

 percent (25%) interest in Santoor to Kirpal Singh for $65,000.00 in May 2014. Since May 2014 I

 have not owned any interest in Santoor, worked at Santoor, managed Santoor or been involved

 with operating Santoor. Therefore, I had no co-workers at Santoor on May 18, 2021, and, in fact,

 had no co-workers at that location for seven years before the service was made there.

        5.      The affidavit of service also states that a copy of the complaint was mailed to me

 at the same 257-05 Union Turnpike address in May 2021. Because I had sold my interest seven

 years prior, I of course did not receive mail there and never received any mailing from the

 restaurant. There would be no reason for me to even think that mail would be going to me at a

 restaurant that I had sold long ago.

        6.      It is my understanding that because I did not own, operate, manage or work at the

 restaurant on the alleged May 18, 2021 date of service that service was never properly made on

 me in this action. As such, I respectfully request that the Court grant my motion to vacate the

 default against me and dismiss the complaint for failure to properly serve me so that I could appear

 and defend myself on the merits.

        7.      Had I actually been served; I would have been able to assert these facts to the Court

 and ask that all claims against me be dismissed. Not only was I not properly served, but I did not

 own, operate, manage or work at the restaurant for the overwhelming majority of the time that the

 plaintiff is complaining about.

        8.      I have read Mr. Marquez’s complaint. While the specific time period he is

 complaining about is not clear, it appears that he claims to have started working at the restaurant

 sometime in 2005. I do not specifically know or remember Mr. Marquez.



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        9.      Because I sold my interest in May 2014, and did not learn of this lawsuit until my

 account was restrained in or about November 2024, more than ten (10) years had passed between

 the sale and my learning of the lawsuit. I have searched my records but been unable to locate any

 records of the sale because of the passage of time. There was no reason for me to keep the

 documents for over ten years as the last time they were relevant was to file my 2014 tax returns. I

 also therefore have no records from the restaurant and would not be able to address the specific

 allegations made by Mr. Marquez other than to state that I was no longer involved with the

 restaurant during the time of his complaints.

        10.     The same day that I sold my interest in Santoor my former partner, Mengha Singh,

 also sold his 25% interest. However, I recall that Mr. Singh was not available for the day of the

 closing so his son-in-law, Jagdev Singh, had a power of attorney and attended the closing. I have

 asked Jagdev whether he has been able to locate any of the documents but, like me, because of the

 passage of time I understand he has not yet been able to locate any documents if they are still in

 existence. He did confirm that he, like me, recalls the closing taking place in May 2014. I

 understand that my attorneys have requested, and Jagdev has provided, an affidavit confirming his

 recollection that the closing took place in May 2014.

        11.     It is my understanding that an amended complaint in this action was filed on April

 8, 2021 and that is the first time my name was brought into this lawsuit.

        12.     It is also my understanding that the first cause of action for alleged violations of the

 FLSA look back for a period of three years. I did not own, operate, manage or work at the

 restaurant in the three years prior to April 8, 2021.

        13.     It is also my understanding that the second, third and fourth causes of action for

 alleged violations of the New York Labor Law look back for a period of six years. I did not own,



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